Case 3:21-cv-00799-G-BK CPRYTST i Ar 04/07/21 bge Soest Sage 5

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF TEXAS

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3-21C000799-G"

Joe Hunsinger
Plaintiff Pro-Se’ Case No:

V.

Velpermont Group LLC.
Defendants

COMPLAINT

1.0 PARTIES
1.1 Joe Hunsinger is a an individual citizen of Texas and a resident of this

District.

1.2 Defendant Velpermont Group LLC. is a Domestic corporation with its
principal place of business in the State of Texas with an operating address of 1343
Tenderden Dr., Channelview, Texas 77530. Harris County.

1.3. Defendant can be served by their agent 1800 Terrenos at 1343 Tenderden
Dr., Channelview, Texas 77530.

2.0 JURISDICTION AND VENUE

2.1 This court has personal specific jurisdiction pursuant to 28 USC Section 1331
and 47 USC Section 227.

2.2 Supplemental jurisdiction for Plaintiffs state law claims arise under 28 USC
Section 1391(b)(2).

2.3. This Court has personal specific jurisdiction over Defendant because
defendant made calls to Plaintiff in this District and Defendant conducts business
in the State of Texas.

 
 

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3.0 PRELIMINARY STATEMENT

3.1 This is an action for damages brought by an individual consumer for
violations of the TCPA, a federal statute enacted in response to widespread public
outrage about the proliferation of intrusive and nuisance telemarketing practices.

3.2 Senator Hollings, the TCPA’s sponsor, described these call as “the scourge of
modern civilization. They wake us up in the morning; they interrupt our dinner at
night; they force the sick and elderly out of be; they hound us until we want to rip
the telephone out of the wall.”

3.3. According to findings by the FCC, the agency congress vested with authority
to issue regulations implementing the TCPA, such calls are prohibited because, as
Congress found, automated or prerecorded telephone calls are a greater nuisance
and invasion of privacy than live solicitation calls.

3.4 The national DNC registry allows consumers to register their telephone
numbers and thereby indicate their desire not to receive telephone solicitations at
those numbers. Plaintiff hereby requests a copy of Defendants DNC Policy.

3.5 The TCPA regulations define “telemarketing” as “the initiation of a telephone
call or message for the purpose of encouraging the purchase or rental of, or
investment in, property, goods, or services.”

3.6 Telemarketing occurs when the context of a call indicates that it was
initiated and transmitted to a person for the purpose of promoting property,
goods, or services.

3.7. Neither the TCPA nor its implementing regulations require an explicit
mention of a good, product, or service - where the implication of an improper
purpose is “clear from the context.”
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3.8 In other words, “offers that are part of an overall marketing campaign to sell
property, goods, or services constitute” telemarketing under the TCPA.

3.9 If a call is not deemed telemarketing, a Defendant must nevertheless
demonstrate that it obtained the Plaintiffs prior express consent.

3.10 The FCC has issued rulings and clarified that consumers are entitled to the
same consent-based protections for text messages.

3.11 “Unsolicited telemarketing phone calls or text messages, by their nature,
invade the privacy and disturb the solitude of their recipients.”

3.12 Plaintiff has been harmed by Defendants’ acts because his privacy has been
violated. Plaintiff was subject to annoying and harassing telephone calls (texts)
that constitute a nuisance.

3.13 Telemarketers must obey the prohibitions in the TCPA.

3.14 Telemarketing is defined as “a plan, program, or campaign which is
conducted to induce the purchase of goods or services or charitable contribution
by use of one or more telephones and which involves more than on interstate
telephone call.

3.15 Plaintiff establishes injury in fact, if he or she suffered “an invasion of a
legally protected interest” that is “concrete and particularized” and “actual or
imminent, not conjectural or hypothetical.”

3.16 Plaintiff has the precise harm and infringe the same privacy interests
Congress sought to protect in enacting the TCPA.

3.17 Plaintiffs “express consent” is not an element of Plaintiffs prima facie case,
but is an affirmative defense for which the Defendant bears the burden of proof.

 
 

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3.18 One single unsolicited marketing text or call is all it takes for a Plaintiff to
have standing and bring suit against a violator of the TCPA.

3.19 The TCPA does not bar all business-related text messaging, but instead,
focuses, in part, on cellular calls and text messages that are for the purpose of
soliciting new or additional business.

3.20 Defendants actions are a pattern and practice over time.

3.21 Defendants, in its alleged violation, was aware of the conduct and allowed it
to continue.

3.22 The impersonal and generic nature of Defendants text message(s),
demonstrate that Defendant utilized an ATDS in transmitting the message.

3.23 Text message advertisements and the use of a short code, support an
inference that the text messages use ATDS.

3.24 Plaintiff has alleged facts sufficient to infer text messages were sent using
ATDS - use of a short code and volume of mass messaging alleged would be
impractical without use of an ATDS.

3.25 Defendant used a “long code” to transmit a text to the Plaintiff. A long code
is a standard 10-digit phone number that enabled Defendant to send SMS text
messages en masse, while deceiving recipients into believing that the message
was personalized. Defendant can copy and past and send hundreds of characters
out with a few clicks.

3.26 Long codes work as follows: Private companies known as SMS gateway
providers have contractual arrangements with mobile carriers to transmit two-way
SMS traffic. These SMS gateway providers send and receive SMS traffic to an from
the mobile phone networks SMS centers which are responsible for relaying those
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messages to the intended mobile phone. This allows for the transmission of a
large number of SMS messages to and from a long code.

3.27 Specifically, upon information and belief, Defendant utilized a combination
of hardware and software systems to send the text messages at issue in this case.
The systems utilized by Defendant have the capacity of store telephone numbers
and to dial such number from a list.

3.28 Defendants unsolicited calls/text message(s) caused Plaintiff actual harm,
including invasion of his privacy, aggravation, annoyance, intrusion on seclusion,
trespass, and conversion. Defendants text messages also inconvenienced Plaintiff
and caused disruption of his daily life.

3.29 Unwanted “Robocalls” are the number one complaint in America today.
Americans received over xxx billion robocalls just last month.

3.30 Plaintiff estimates he has received tens of thousands of unauthorized and
unwanted text messages in his lifetime from telemarketers. Some have been
from repeat violators and some have been from single call/text violators. The
Bureau of Labor Statistics tells us there are 134,800 telemarketers in the USA. If
this information is correct American consumers could quite possibly receive
369.31 calls per day and we have to tell the telemarketers is to place us on their
do not call list and we won’t hear from them in another 12 months, and then
process begins all over again? Plaintiff does not want to have his phone ring or
text 369.31 times a day from telemarketers. Plaintiff does not even want one
telemarketer to call him. There is a reason they say we as a nation may disagree
on many issues, but when it comes to unwanted telemarketing (Robocalls/texts)
we all agree that we do not like them.

3.31 The contempt from Senator Hollings was he even wanted to do away with all
telemarketers, period. Plaintiffs pleading as mentioned above are clear and give
an insight on where Plaintiff set of mind. How he wants to left alone and

unbothered by telemarketing calls/texts.

 
 

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3.32 The do not call provisions of the TCPA cover any plan, program or campaign
to sell goods or services through interstate phone calls. This includes calls by
telemarketers who solicit consumers, often on behalf of third party sellers.

3.33 The TCPA has a “safe harbor” for inadvertent mistakes. If a telemarketer
can show that, as part of its routine business practice, it meets all the
requirements of the safe harbor, it will not be subject to civil penalties or
sanctions for mistakenly calling a consumer who has asked for no more calls, or
for calling a person on the registry.

3.34 Plaintiffs complaint seeks money damages and injunctive relief from
Defendants illegal conduct.

3.35 This private cause of action is a straight forward provision designed to
achieve a straightforward result. Congress enacted the law to protect against
invasions of privacy that were harming people. The law empowers each person to
protect his own personal rights. Violations of the law are clear, as is the remedy.

3.36 The TCPA was enacted to prevent companies like Defendant from invading
Plaintiffs’ privacy as explained in paragraph 3.27 and 3.28.

3.37 Defendant(s) uses telemarketing to obtain new customers.

3.38 If Defendant(s) want to avoid a TCPA lawsuit, all they have to do is not break
the laws in the TCPA.

4.0 VICARIOUS LIABILITY
4.1 At all times relevant the the events giving rise to this lawsuit, Defendant
acted through its agents and is therefore liable for such actions pursuant of
vicarious liability principles.

 
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4.2 Whenever it is stated herein that Defendant engaged in any act or omission,
the statement includes the acts or omissions by Defendant, its agents, its
employees, its representatives and others with actual or apparent authority to act
on behalf of and bind the Defendant.

5.0 QUESTIONS OF LAW

5.1 There are well defined and nearly identical questions of law and fact that
affect all parties. Such common questions of law and fact include, but are not
limited to, the following:

5.2 Whether Defendant(s) placed such telephone calls to the Plaintiff;

5.3. Whether Defendant(s) TCPA violations and conduct was knowing
and/or willful:

5.4 Whether Defendant(s) can meet their burden of showing that they
clearly and unmistakably obtained “prior express consent” to make
such calls/texts to the Plaintiff;

5.5 Whether Defendant(s) are liable for damages to the Plaintiff, as well as
the amount to of such damages;

5.6 Whether Defendant(s) identified themselves to the Plaintiff or if
their agents identified the entity on whose behalf the call/text was
being made;

5.7. Whether Defendant(s) sent Plaintiff their DNC policy when it was
requested;

5.8 Whether Defendant(s) uses telemarketing to obtain new customers;

5.9 Whether Defendant(s) have a written DNC policy;

5.10 Whether Defendant(s) written DNC policy was shared with anyone
“on demand.”;
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Whether Defendant(s) can prove they trained their employees about
the telemarketing rules and laws set in place;

Whether Defendant(s) have maintained a list of persons that they may
not contact;

Whether Defendant(s) have a process in place to prevent phone calls
to either numbers on the National Do Not Call List or numbers on the
telemarketers internal do not call list;

Whether Defendant(s) have a process in place to monitor calls to

prevent violations of the do not call list;

Whether Defendant(s) have maintained an errant list of all call that

violate the do not call regulations;

Whether Defendant(s) can prove they used TCPA compliant vendors;

Whether Plaintiff opted out of receiving calls/texts from Defendant.

Whether Defendant(s) honored Plaintiffs opt out/stop request.

Whether Defendant(s) had reason to know, or should have known that
its conduct would violate the statute.

Whether Plaintiff is entitled to injunctive relief;

Whether Defendant(s) should be enjoined from engaging in such
mentioned conduct in the future;

Whether Defendant transmitted telemarketing texts messages to
Plaintiff before 8:00 AM.

5.22 Common questions in this case have common answers.
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6.0 FACTUAL ALLEGATIONS

AGAINST VELPERMONT GROUP LLC.
6.01 On Wednesday May 1, 2019 at 7:00 AM Plaintiff received four unauthorized
and unwanted telemarketing text message to his cell phone ending in 7677 from
Defendant or their agent form phone number 469-957-8257. The sender of the
text message did not identified themselves, but only showed a call back number
of 281-972-5203.

6.02 Plaintiff, wanting to investigate his claim against the telemarketer, followed
the telemarketers cues to find out their identity.

6.03 Plaintiff an internet search of phone number 281-972-5203 lead Plaintiff to a
Facebook page, Hector’s Ranchos. On said Facebook page Plaintiff could not find
a legitimate business name or address. But Plaintiff did find an areal photo of an
undeveloped lot of real property being advertised in for sale by Hector’s.

6.04 Plaintiff began searching online on google maps and found the lot being
advertised by Hector’s. DCAD shows the lot’s owner to be Velpermont Group LLC.

6.05 Plaintiff did not have to contact Defendant or their agent after finding out
their true identity. In looking back it might have been easier to contact
Defendant, but thee always would be that chance that doing so would have risked
them breaking off the communication and disappearing. Of all the freaking junk
Plaintiff has gone through with telemarketers, never, not one time, has a
telemarketer given their true identity (to their legally registered business in the
US) to Plaintiff. One time, a few years ago, a telemarketer did give Plaintiff their
business name and phone number and website and agents name and supervisor
name and was actually passed on to the supervisor who took Plaintiffs call. They
answered all of Plaintiffs questions without any hesitation. They were an web
hosting / promotion company in South America.
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6.06 Plaintiff is informed and believes and therefore alleges that texts that
Defendant placed to him were made using an automatic telephone dialing
system.

6.07 Plaintiff, searching on the Texas Secretary of State’s website [and paying
their search fees], found Defendant to be registered as a domestic LLC. In the
State of Texas.

6.08 Plaintiff searched Defendant on Pacer [and also paid their fees to search and
look at pleadings] and did not find other complaints against the Defendant for
violations of the TCPA.

6.09 Plaintiff, at no time, gave Defendant his “express consent” to be contacted
by text messages.

6.10 Part of Plaintiffs discovery will will be finding out if Defendant has a
company wide pattern or practice of engaging in the alleged illegal practices at
issue in my case. Plaintiff is proffering that a number of similar incidents have
occurred around the country to other everyday people.

6.11 In this alleged action, it is the Plaintiffs belief the Defendant uses long codes
to run his telemarketing campaign to text people from a phone number and if
they don’t respond he (they) is back at it contacting the same people who did not
respond with a new number.

6.12 The text placed by the Defendant was not necessitated by an emergency.

6.13 Defendants calls were transmitted to Plaintiffs cellular telephone, and within
the time frame relevant to this action.

6.14 Defendant and/or their agents failed to properly identify themselves as
required by the TCPA.

 
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6.15 Plaintiff is not a customer of Defendant and has not provided defendant with
his personal information or telephone number, or sought out solicitation from the
Defendant or their agents.

6.16 It is Defendants burden to prove they has “express consent” per the TCPA to
call the Plaintiff on his cell phone using an “automatic telephone dialing system.”

6.17 At no time did Plaintiff provide prior express written consent, or even prior
permission, for the Defendant or their agents to call the Plaintiff.

6.18 Plaintiff does not have and has never had an established business
relationship with the Defendant.

6.18 The text received by the Plaintiff from the Defendant or their agent was for
the purpose of encouraging the purchase of rental of, or investment in, property,
goods, or services. The call therefor qualifies as telemarketing.

6.19 Plaintiff is the subscriber of phone number ending in 7677 and is financially
responsible for phone service to said number.

6.20 Plaintiff's phone number ending in 7677 is primarily used for personal,
family, and household use.

6.21 Upon information and belief, Defendants calls harmed the Plaintiff by
causing the the very harm that Congress sought prevent - that is the “nuisance
and invasion of privacy” and a Plaintiff suffered a concrete and particularized
harm.

6.22 Upon information and belief, Defendants texts harmed Plaintiff by intruding
upon Plaintiffs seclusion, lost time attending to unwanted and unauthorized calls,
decreased phone battery life, need for more frequent re-charging of the battery,

annoyance, and frustration.

 
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6.23 As a result of Defendant illegal conduct, Plaintiff is entitled to $500 in
damages for each such violation of the TCPA. This is for each and every violation,
whether Defendant committee multiple violations with a single text. The number
of texts are irrelevant.

7.0 STANDING

7.01 Standing is proper under Article Ill of the Constitution of the United States of
America because Plaintiff's claims state: (a) a valid injury in fact; (b) which is
traceable to the conduct of Defendant; and (c) is likely to be redressed by a
favorable judicial decision.

7.02 Plaintiff's injury in fact must be both “concrete” and “particularized” in order
to satisfy the requirements of Article IIl of the Constitution.

7.03 For an injury to be “concrete” it must be a de facto injury, meaning that it
actually exists. In Plaintiffs case, Defendant sent a text messages to Plaintiff's
cellular telephone, using an ATDS. Such text messages are a nuisance, an
invasion of privacy, and an expense to Plaintiff. All three of these injuries are
concrete and de facto.

7.04 For an injury to be “particularized” means that the injury must “affect the
Plaintiff in a personal and individual way.” In Plaintiffs case, Defendant invaded
Plaintiffs privacy and peace by texting his cellular telephone, and did this with the
use of an ATDS. Furthermore, Plaintiff was distracted and annoyed by having to
take time, opening and reading the text message. All of these injuries are
particularized and specific to Plaintiff.

7.05 Plaintiffs case passes The “ Traceable to the Conduct of Defendant” Prong.

7.06 The second prong to establish standing at the pleadings phase is that
Plaintiff must allege facts to show that its injuries are traceable to the conduct of

 
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Defendant. The above text message was directly and explicitly linked to
Defendant. The number from which the text was sent belongs to Defendant. This
text message is the sole source of Plaintiff's and the Class’s injuries. Therefore,
Plaintiff has illustrated facts that show that her injuries are traceable to the
conduct of Defendant.

7.07 Plaintiffs case passes the “ Injury is Likely to be Redressed by a Favorable
Judicial Opinion” Prong,

7.08 The third prong to establish standing at the pleadings phase requires
Plaintiff to allege facts to show that the injury is likely to be redressed by a
favorable judicial opinion In the present case, Plaintiff's Conclusion include a
request for damages for each text message made by Defendant, as authorized by
statute in 47 USC. Section 227. The statutory damages were set by Congress and
specifically redress the financial damages suffered by Plaintiff.

7.09 Plaintiff, under his 14 Amendment rights, has right to bring this action to be
heard in front of a jury.

7.10 Because all standing requirements of Article III of the US Constitution have
been met, Plaintiff has standing to sue Defendant on the stated claims.

COUNT 1

8.01 Plaintiff re-alleges and incorporates the above paragraphs.

8.02 Defendant violated 47 USC Section 227(b)(1)(A)(iii) by placing (non
emergency) solicitation texts to the Plaintiff.

8.03 Defendant must pay Plaintiff $500 for each text placed to Plaintiff.

COUNT 2

9.01 Plaintiff re-alleges and incorporates the above paragraphs.

 
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9.02 Defendant transmitted four solicitation texts to Plaintiffs cellular phone
number, which was registered on the Do Not Call registry, violating 47 CFR
Section 64.1200(c).

9.03 Defendant must pay Plaintiff $500 for each text placed to Plaintiff.

COUNT 3

10.01 Plaintiff re-alleges and incorporates the above paragraphs.

10.02Defendant knew or should have know that Plaintiff had not given express
consent to receive its texts messages violating USC Section 227(b)(3)(C).

10.03 Defendant must pay Plaintiff $500.

COUNT 4

11.01 Plaintiff re-alleges and incorporates the above paragraphs.

11.02 Defendant transmitted a text to the Plaintiff, despite the fact that Plaintiffs
phone number is listed on the DNC list, a violation of USC Section 227(c).

11.03 Defendant must pay Plaintiff $500.

COUNT 5

12.01 Plaintiff re-alleges and incorporates the above paragraphs.

12.02 Defendant transmitted more than one text to the Plaintiff, a violation of USC
Section 227(c)(5)(B).

12.03 Defendant must pay Plaintiff $500 for each text placed to the Plaintiff.
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COUNT 6

13.01Plaintiff re-alleges and incorporates the above paragraphs.

13.02Defendant spoofed their caller id. The phone numbers on displayed on
Plaintiffs caller id were long codes. Plaintiff cannot call Defendants long code and
speak to someone. A violation of 47 CFR Section 64.1601(4)(e).

13.03 Defendant failed to provide a call back number in the initial text message.
A violation of 47 CFR Section 64.1200(b)(2).

13.04 Defendant must pay Plaintiff $500.

COUNT 7

14.01 Plaintiff re-alleges and incorporates the above paragraphs.

14.02 Defendant made calls to Plaintiffs phone ending in 7677 intentionally or
knowingly and the calls were not accidental.

14.03Pursuant to TBCC Section 305.053, Plaintiff sues here for monetary
damages.

140.4Pursuant USC Section 227(c)(5) and 47 CFR Section 64.1200(a)(2), treble
the $500 statutory damages to be recoverable by Plaintiff against the Defendant
to $1500 for each transmitted text Defendant placed and for violating the the

DNC request.

14.05 Defendant must pay Plaintiff $1500 for each violation and text transmitted
to Plaintiff.

COUNT 8

15.01 Plaintiff re-alleges and incorporates the above paragraphs.
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15.02Pursuant to 47 USC Section 227(b)(3)(A) and TBCC Section 305.053, the
court following the trial of this action should issue an order permanently enjoining
Defendant and its agents from engaging in any further conduct with respect to
Plaintiff which violates the rules and regulations of 47 USC Section 227.

COUNT 9

16.01 Plaintiff re-alleges and incorporates the above paragraphs.

16.02 Defendant intentionally intruded on Plaintiffs solitude, seclusion, and private
affairs by transmitting unwanted telemarketing calls to his cellular phone.
Defendants intrusion would be highly offensive to a reasonable person.

16.03The repeated autodialed calls to Plaintiffs cellular phone have caused him
emotional harm and distress, frustration, aggravation, wasted time, a nuisance
and other losses.

16.04 Plaintiff seeks to recover actual damages, including his damages for mental
anguish, to be proven at trial. Mental anguish is one of the torts for which Plaintiff
can recover mental-anguish damages without proving physical injury.

COUNT 10

17.01Plaintiff re-alleges and incorporates the above paragraphs.

17.02Defendant sent four text to Plaintiff at 7:00 AM. A violation of 47 CFR
Section 64.1200(b)(c)(1).

17.03 Defendant must pay Plaintiff $500.

TRIAL BY JURY
18.01Plaintiff demands a trial by jury under the 7" Amendment of the US

Constitution.
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CONCLUSION

Plaintiff has read Dondi Properties Corp. v. Commerce Savs. & Loan Ass’n which
pretty much establishes the conduct for attorneys and references abusive
litigation tactics from attorneys conduct. Plaintiff believes if Defendant would
read Dondi and instruct their attorney to send copies of the filings and emails
between the Plaintiff and Defendants attorney, this would keep the Defendants
attorney from “poking a stick at Plaintiffs ribs” just to upset him and try to prolong
the hours he will be charging his client.

Plaintiff requests a copy of Defendants Do-Not-Call Policy to be sent to Plaintiffs
address below.

Plaintiff requests everything he has asked for in his Complaint and other relief as
the Court deems necessary.

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721 awn Frwy.
Dallas, Texas 75217

214-682-7677
joe75217@gmail.com
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PAX: 512/463-5709 Document #: 672292010002 |
-_ Certificate of Formation | Image Generated Electronically
peal Fess poe Limited Liability Company =| for Web Filing

 

 

| Article 1 - Entity Name and Type
r he filing entity being formed is a limited liability company. The name of the entity is:

MELPERMONT | GROUP LLC

[ ; Article 2- - Registered Agent and Registered Offi ce. —"
MA. The initial registered agent is an organization (cannot be company named above) by the name of:
41800 Terrenos LLC,

 

 

 

   

 

 

   

 

 

OR

 

ee

‘IC. The business address of the registered agent and the registered offi ce ‘address i is:

 

 

treet Address:
(1343 Tenderden DRL _Channelview TX 77530

   

    

| Corea = Registered A s at ss ute mere erage erent
IMA. A copy of the consent of registered agent is attached. _

OR

|MB.T The co consent t of the registered agent is maintained bythe entity. __

| Article 3 - Governing Authority

IMA. The limited liability company is to be managed by managers.

OR

{B. The limited liability company will not have managers. Management of the company is reserved to the members.
‘The names and addresses of the governing persons are set forth below:

Manager 1: (B (Business Name) ‘Glorimont Real Estate LLC
|Address: 22897 Ganges Ct Porter TX,USA 77365 ==>
‘Manager 2: ( iness Name) ACPS Properties LLC .
address: 2301 Shady Tree Ln Conroe TX, USA 77301
‘Manager 3: (Business Name) 1800 Terrenos LLC,

lAddress: 1343 Tenderden DR Channelview TX, USA 77530
| Article 4 - Purpose

{The purpose for which the company is organized i is for the transaction of any and all lawful business for which Timited
liability companies may be organized under the Texas Business Organizations Code. |

 

 

 

 

 

 

 

 

 

 

 

 

 

Supplemental Provisions / Information

 

 
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Texas Franchise Tax Public Information Report

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TAE\ Compote 05-102 To be filed by Corporations , Limited Liability Companies (LLC) and Financial Institutions
oi Accounts (Rev.9-11/30) This report MUST be signed and filed to satisfy franchise tax requirements
A FORM ;
mTcode 13196 Franchise
@ Taxpayer number @ Report year You have certain rights under Chapter 552 and 559, Government Code,
to review, request, and correct information we have on file about you.
3} 210)6/0)3/8)5|8) 6) 4 21011|8 Contact us at (800) 252-1381 or (512) 463-4600.
axpayer name
1800 TERRENOS LLC
Mailing address Secretary of State (SOS) file number or
1343 TENDERDEN DR Comptroller file number
City State ZIP Code Plus 4
CHANNELVIEW TX 77530 0802450660
ee Blacken circle if there are currently no changes from previous year; if no information is displayed, complete the applicable information in Sections A, B and C.
Principal office
Principal place of business

 

 

 

 

Please sige below/ Report is completed. The information is updated annually as part of the franchise tax
report. There is no requirement or procedure for supplementing the information as

Officer, director and manager information is reported as of the date a Public Information
officers, directors, or managers change throughout the year.
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SECTION A Name, title and mailing address of each officer, director or manager. 3206038586418
Name itle Director mmddyy
T
KEVIN VELASQUEZ-GARCIA OWNER OVE | Spiraen
Mailing address City State IP Cade
1343 TENDERDEN DR CHANNELVIEW TX 77
Name itle Director mm ddy_y
Term
KEVIN VELASQUEZ-GARCIA DIRECTOR @ v5 | Spiration
Mailing address City State ZIP Code
1343 TENDERDEN DR CHANNELVIEW 77
Name Title Director mm ddy yy
O ves tem
expiration
Mailing address City State IP Code
SECTION B Enter the Information required for each corporation or LLC, if any, in which this entity owns an Interest of 10 percent or more.
Name of owned (subsidiary) corporation or limited liability company State of formation ‘exas 505 file number, itany|Percentage of ownership
Name of owned (subsidiary) corporation or limited liability company State of formation ‘exas SOS file number, if any|Percentage of ownership
SECTION C Enter the information required for each corporation or LLC, if any, that owns an interest of 10 percent or more in this entity or limited
liability company.
IName of owned (parent) corporation or limited lability company State of formation ‘exas 905 file number, if any|Percentage of ownership
Registered agent and registered office currently on file. (see instructions if you need to make changes) ~~ Blacken circle if you need forms to change
Agent: KEVIN ANDREE VELASQUEZ O the registered agent or registered office information
Ci State ZIP
fice: 1343 TENDERDEN DR CHANNELVIEW TX “97530

 

 

 

 

The above information is required by Section 171.203 of the Tax Code for each corporation or limited liability company that files a Texas Franchise Tax Report. Use additional sheets
for Sections A, B, and C, if necessary. The information will be available for public inspection.

1 declare that the information in this document and any attachments is true and correct to the best of my knowledge and belief, as of the date below, and that a copy of this report has
been mailed to each person named in this report who is an officer, director or manager and who Is not currently employed by this, or a related, corporation or limited liability company.

ign ) Title ate Area code and phone number
hare JUDY ROBERTS Electronic 08-30-2018 (972) 907-8201

Texas Comptroller Official Use Only

! CM ASMA AIAAAGULONOLN

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

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(1800 TESS LE Onad MLE GT NS VEO OL
(Glorimont Real Estate LLC Owned 42.5% of the Velpermont Group LLC

CPS Properties LLC Owned 15% of the Velpermont Group LLC

{The attached addendum, if any, is incorporated herein by reference.]

 
       

 

‘The name and address of the organizer are set forth below.
22897 Ganges Ct , Porter Texas 77365

Gloria Figueroa __

   
 

ERE Rete He ee pomiies UGS EN) 6 al aan
ITlA. This document becomes effective when the document is filed by the secretary of state.
OR

ie This document becomes effective at a later date, which is not more than ninety (90) days from the date of its
‘signing. The delayed effective date is: May 24, 2016

{ __Execution —

‘The undersigned affirms that the person designated as registered agent has consented to the appointment. The
undersigned signs this document subject to the penalties imposed by law for the submission of a materially false or
‘fraudulent instrument and certifies under penalty of perjury that the undersigned is authorized under the provisions of |
Mla i ntity to execute the filing i

 

 

 

    

 

 

 

 

 

 

ignature of Organizer

 

FILING OFFICE COPY

 
 

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Marketplace » Home Sales
$ VENDO 1 ACRE D TERRENO
SERQUITA DEL LAGOS 4693854424

Gun Barrel City, TX - over a week ago -@

$2,500

$ VENDO 1 ACRE D TERRENO SERQUITA
DEL LAGOg; 46938544724 for sale in Gun
Barrel City on Facebook Marketplace

@1 ACRE EN EL AREA DE GUN BARREL
CITY “PARA CONSTRUIR O PONER TRAILA
SENCILLA $$ENGANCHE DE $2,500 = INO
NECESITA CREDITO 1 «§ PAGOS BAJITOS
@TELEFONOS PARA MAYOR INFOS 469
385 44 24 2147181808 «= Horario 9am-
7pm

 

                   

 

 

 
JS 44 (Rev. 10/20) - TXND (10/20) K, Gh VIL CO OVER Lot ash

The JS 44 civil cot AS § ad fbi ae P¥290/ 29; 258K eréin néi Ro ument: Supp. en Wea ing an Reset ti Rigs ers Ab agelD.£8 law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in Septe useof the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
JOE HUNSINGER VELPERMONT GROUP LLC.

 

 

(b) County of Residence of First Listed Plaintiff DALLAS

(EXCEPT IN U.S. PLAINTIFF CASES)

NOTE: INLAND CONDEMNATION
THE TRACT OF LAND INV‘
(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

PRO-SE

3-21CV079G-

 

 

 

 

MORTHERN DISTRICT C Ss
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
(]1 U.S. Government [*]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [x] 1 [x] 1 Incorporated or Principal Place oO 4 [x] 4
of Business In This State
(]2_ U.S. Government (]4 Diversity Citizen of Another State (12 [ 2. Incorporated and Principal Place fls (3s
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a C 3 C 3 Foreign Nation C] 6 C 6
Foreign Country

 

 

IV. NATURE OF SUIT ee an “X”" in One Box Only) ture

    
  
 
  
 
   
             

 

 

elie bere for: L

 

 

 

 

  

 

   

 
 

 

 

 

 

 

| CONTRACT TORTS. _FORFEITURE/PENALTY [| : a
110 Insurance PERSONAL INJURY PERSONAL INJURY Y ]625 Drug Related Seizure [|] 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane O 365 Personal Injury - of Property 21 USC 881 [| 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability T1690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability Cc] 367 Health Care/ 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical ef E : 410 Antitrust
& Enforcement of Judgment Slander Personal Injury a TET |_| 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability CT 368 Asbestos Personal 835 Patent - Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[| 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Personal | ]720 Labor/Management | ___SOCIA Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (139588) 490 Cable/Sat TV
196 Franchise Injury oO 385 Property Damage 4 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI 890 Other Statutory Actions
[REAL PROPERTY| CIVILRIGHTS iS : 790 Other Labor Litigation 865 RSI (405(g)) 891 Agricultural Acts
| _]210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement 893 Environmental Matters
220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act = TAX 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations T 530 General r | 871 IRS—Third Party 899 Administrative Procedure
[| 290 All Other Real Property 445 Amer. w/Disabilities - | 535 Death Penalty ee IMMIGRAT TON” 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration wl 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “x” in One Box Only)

5] 1 Original 2 Removed from | 3 Remanded from oO 4 Reinstated or oO 5 Transferred from 6 Multidistrict oO 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

28 USC SECTION 1331 AND 47 USC SECTION 227

Brief description of cause:
VIOLATIONS OF THE TCPA
(-] CHECK IF THIS IS A CLASS ACTION

VI. CAUSE OF ACTION

 

VII. REQUESTED IN DEMAND $ CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [x]yes [No
VIII. RELATED CASE(S)
IF ANY (See instructions GR DOCKET NUMBER
DATE 1 2 \ Cee OF RECORD
FOR OFFICE USE ONLY a
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 

 
